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 8                                UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
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11   MARIA DEL ROCIO ARCEO-RANGEL,                    No. 2:09-cr-00407-KJM-1

12                     Defendant-Movant,
13           v.                                       ORDER TO SHOW CAUSE

14   UNITED STATES OF AMERICA,
15                     Plaintiff-Respondent.
16

17                  On June 8, 2016, Ms. Arceo-Rangel filed a motion asking the court to appoint

18   counsel to review the retroactive application of Johnson v. United States, 135 S. Ct. 2551 (2015)

19   to her case. ECF No. 539. On June 14, 2016, the court issued a minute order referring Ms.

20   Arceo-Rangel’s request to the Federal Defender’s Office. ECF No. 540. On July 13, 2016, the

21   Federal Defender’s Office filed a notice that federal defender Ann C. McClintock had reviewed

22   Ms. Arceo-Rangel’s case, and had written to Ms. Arceo-Rangel regarding her request for counsel.

23   ECF No. 545. As of the date of this order, the Federal Defender’s Office reports it has not heard

24   from Ms. Arceo-Rangel, nor has Ms. Arceo-Rangel filed anything with the court since her June 8,

25   2016 motion to appoint counsel.

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       Case 2:09-cr-00407-KJM Document 567 Filed 12/02/16 Page 2 of 2


 1                  Accordingly, the court hereby orders Ms. Arceo-Rangel to SHOW CAUSE within
 2   fourteen (14) days why the court should not deny her request for counsel due to her failure to
 3   respond to the Federal Defender’s efforts to communicate with her.
 4                  IT IS SO ORDERED.
 5   DATED: Decmeber 1, 2016
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 7                                                  UNITED STATES DISTRICT JUDGE

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